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     Federal Defender
2    RACHELLE BARBOUR, #185395
     Attorney
3    Designated Counsel for Service
     OFFICE OF THE FEDERAL DEFENDER
4    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
5
     Attorney for Defendant
6    ERIC JOHN COP

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8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                       )   NO. 13-mj-009-CMK
12                                                   )
                           Plaintiff,                )   STIPULATION AND [PROPOSED] ORDER
13                                                   )   TO EXTEND TIME FOR PRELIMINARY
     v.                                              )   HEARING AND EXCLUDE TIME AS TO
14                                                   )   ALL DEFENDANTS
     ERIC JOHN COP, et al.,                          )
15                                                   )   DATE: March 13, 2014
                           Defendants.               )   TIME:  2:00 p.m.
16                                                   )   JUDGE: Hon. Dale A. Drozd
                                                     )
17
18           Plaintiff, United States of America, by and through Assistant United States Attorney

19   MICHAEL MCCOY, and Defendants: ERIC JOHN COP, through his attorney RACHELLE

20   BARBOUR, of the Office of the Federal Defender, MARK SCOTT COP, through his attorney,

21   DINA SANTOS, esq., and JOHN RICHARD LEITHMANN, through his attorney, ERIC BERG,

22   esq,, hereby stipulate to continue the Preliminary Hearing set for February 13, 2014 to March 13,

23   2014, at 2:00 p.m.

24           The parties agree that the time beginning from the date of this stipulation extending

25   through March 13, 2014, should be excluded from the calculation of time under the Speedy Trial

26   Act. Further, the Defendants consent to an extension of the time for a Preliminary Hearing until

27   March 13, 2014. Fed.R.Crim.P. 5.1(d). The parties submit that the ends of justice are served by

28   the Court excluding such time, so that they may have reasonable time necessary for effective
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1    preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). In
2    particular, the time is required so that the parties can conduct investigation and discuss any
3    possible pre-indictment disposition. The defendants consent to this continuance.
4              The parties stipulate that this interest of justice outweighs the interest of the public and
5    the defendant in a speedy trial, 18 U.S.C. § 3161(b) and (h)(7)(A), and further that this good
6    cause outweighs the public’s interest in the prompt disposition of criminal cases. Fed.R.Crim.P.
7    5.1(d).
8    Dated: February 12, 2014                                Respectfully submitted,
9                                                            HEATHER E. WILLIAMS
                                                             Federal Public Defender
10
                                                             /s/ R. Barbour
11                                                           RACHELLE BARBOUR
                                                             Attorney for Defendant
12                                                           ERIC JOHN COP
13
14                                                           /s/ R. Barbour for________________
                                                             DINA SANTOS
15                                                           Attorney for Defendant
                                                             MARK SCOTT COP
16
17
                                                             /s/ R. Barbour for________________
18                                                           ERIC BERG
                                                             Attorney for Defendant
19                                                           JOHN RICHARD LEITHMANN
20
     Dated: February 12, 2014                                BENJAMIN WAGNER
21                                                           United States Attorney
22                                                           /s/ Michael McCoy
                                                             MICHAEL MCCOY
23                                                           Assistant U.S. Attorney
                                                             Attorney for Plaintiff
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      Stipulation and Order
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1                                                 ORDER
2            The Court has read and considered the Stipulation for the Extension of Time for
3    Preliminary Hearing pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this
4    matter. The Court hereby finds that the Stipulation, which this Court incorporates by reference
5    into this Order, demonstrates good cause for an extension of time for the Preliminary Hearing
6    date, pursuant to Rule 5.1(d) of the Federal Rules of Criminal Procedure.
7            Furthermore, for the reasons set forth in the parties’ Stipulation, the Court finds that the
8    interests of justice served by granting this continuance outweigh the best interests of the public
9    and defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the
10   extension of time would not adversely affect the public’s interest in the prompt disposition of
11   criminal cases.
12   THEREFORE, FOR GOOD CAUSE SHOWN:
13           1. The date of the Preliminary Hearing is extended to March 13, 2014, at 2:00 p.m.
14           2. This time up to and including March 13, 2014 shall be excluded from the calculation
15   pursuant to 18 U.S.C. §3161(h)(7)(A) and Federal Rule of Criminal Procedure 5.1(d).
16
17   IT IS SO ORDERED.
18
19   Dated: February 12, 2014
                                                      _____________________________________
20
                                                      CAROLYN K. DELANEY
21                                                    UNITED STATES MAGISTRATE JUDGE

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                           et al.,                   -3-
      Stipulation and Order
